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                         UNITED STATES BANKRUPTCY COURT
                                Middle District of Florida
                                   Orlando Division


IN RE:
                                                     Case No.:       6: 18-bk-00563-CCJ
       Rafael Figueroa-Ayala
       Laura Figueroa

                                                     Chapter 13
                        Debtor
____________________________________

               MOTION TO MODIFY CONFIRMED CHAPTER 13 PLAN

                                 NOTICE OF OPPORTUNITY TO
                              OBJECT AND REQUEST FOR HEARING

                       Pursuant to Local Rule 2002-4, the Court will consider the relief
       requested in this paper without further notice or hearing unless a party in interest
       files a response within thirty (30) days from the date set forth on the proof of
       service, plus an additional three days for service if any party was served by U.S.
       Mail.

                      If you object to the relief requested in this paper, you must file
       your response with the Clerk of the Court at United States Bankruptcy Court,
       George C. Young Courthouse, 400 W. Washington St., Suite 5100, Orlando, FL
       32801; serve a copy on the movant’s attorney, Alejandro Rivera, Esq., 1400 W.
       Oak Street, Ste. F, Kissimmee, FL 34741, and any other appropriate persons
       within the time allowed. If you file and serve a response within the time
       permitted, the Court will either schedule and notify you of a hearing or consider
       the response and grant or deny the relief requested without a hearing.

                       If you do not file a response within the time permitted, the Court
       will consider that you do not oppose the relief requested in the paper, will proceed
       to consider the paper without further notice or hearing, and may grant the relief
       requested.



       COMES NOW the Debtors, Rafael Figueroa-Ayala and Laura Figueroa, by counsel, files

this Motion to Modify Order Confirming Chapter 13 Plan, and as grounds in support of this

motion would state the following:
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       1.      This case was filed January 31, 2018, and the Order Confirming Chapter 13 Plan

was entered on September 20, 2018.

       2.      The debtor has fallen behind on plan payments due to unforeseen circumstances.

       3.      The debtor desires to modify the confirmed plan according to the payments and

disbursements on Exhibit “A” attached hereto.

       WHEREFORE, the debtor moves this Court for a modification of the Order Confirming

Chapter 13 Plan as stated herein, and for such other relief as the Court deems appropriate.



       Dated this the 19th day of November, 2018.

                                             /s/Rafael Figueroa-Ayala
                                             Rafael Figueroa-Ayala, Debtor

                                             /s/Laura Figueroa
                                             Laura Figueroa, Co-Debtor


                                      Certificate of Service

        I hereby certify that a true and correct copy of the foregoing Motion to Modify Order
Confirming Chapter 13 Plan via United States Regular Mail, postage prepaid, to all parties on
the attached mailing matrix the 19th day of November, 2018.


                                             /s/Alejandro Rivera
                                             n Alejandro Rivera, Esq.
                                             FBN 90038
                                             o Jessica L. Fellows, Esq.
                                             FBN 112477
                                             ALEJANDRO RIVERA P.A.
                                             A Law Firm
                                             1400 W. Oak St. #F
                                             Kissimmee, FL. 34741
                                             Ofc. 407 518-7160
                                             Fax. 407 518-7678
                                             Email. Rivera@RiveraAt Law.com
                                             ATTORNEY FOR DEBTOR
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DUE DATE           18-00563 CJ           AYALA
  2ND                  3/2/2018                             10.0%                            MONITORING ADMINISTRATION            FREEDOM
                    Unsecured             Debtor Pmt      Tee Fee                ATTY               FEE    PARA EL               TIBER WAY
              60              60                                             $4,500.00
   3/2/2018    1        $0.00               $3,114.38     $311.44              $375.00                              $100.00             $1,754.42
   4/2/2018    2        $0.00               $3,114.38     $311.44              $375.00                              $100.00             $1,754.42
   5/2/2018    3        $0.00               $3,114.38     $311.44              $375.00                              $100.00             $1,754.42
   6/2/2018    4        $0.00               $3,114.38     $311.44              $375.00                              $100.00             $1,754.42
   7/2/2018    5        $0.00 5     at      $3,114.38     $311.44              $375.00                              $100.00             $1,754.42
   8/2/2018    6        $0.00 1     at      $3,210.00     $321.00     6 at     $375.00                       6 at   $100.00    6 at     $1,754.42
   9/2/2018    7        $0.00 1     at      $1,000.00     $100.00     1 at       $0.00                                         1 at       $900.00
  10/2/2018    8        $0.00               $3,210.00     $321.00              $375.00                                                  $1,754.42
  11/2/2018    9        $0.00 2     at      $3,210.00     $321.00     2 at     $375.00                                         2 at     $1,754.42
  12/2/2018   10        $0.00               $3,415.00     $341.50              $417.10   10 at                                          $1,896.82
   1/2/2019   11        $0.00               $3,415.00     $341.50              $417.10             $50.00                               $1,896.82
   2/2/2019   12        $0.00               $3,415.00     $341.50     3 at     $417.10             $50.00                               $1,896.82
   3/2/2019   13        $0.00               $3,415.00     $341.50     1 at     $248.70             $50.00                      4 at     $1,896.82
   4/2/2019   14        $0.00               $3,415.00     $341.50                                  $50.00                               $1,896.83
   5/2/2019   15        $0.00 6     at      $3,415.00     $341.50                                  $50.00                      2 at     $1,896.83
   6/2/2019   16        $0.00               $3,210.00     $321.00                                  $50.00                               $1,754.42
   7/2/2019   17        $0.00               $3,210.00     $321.00     4 at                         $50.00                               $1,754.42
   8/2/2019   18        $0.00               $3,210.00     $321.00                                  $50.00                               $1,754.42
   9/2/2019   19        $0.00               $3,210.00     $321.00                                  $50.00                               $1,754.42
  10/2/2019   20        $0.02               $3,210.00     $321.00                                  $50.00                               $1,754.42
  11/2/2019   21        $0.00               $3,210.00     $321.00                                  $50.00                               $1,754.42
  12/2/2019   22        $0.00               $3,210.00     $321.00                                  $50.00                               $1,754.42
   1/2/2020   23        $0.00               $3,210.00     $321.00                                  $50.00                               $1,754.42
   2/2/2020   24      $242.67               $3,210.00     $321.00                                  $50.00                               $1,754.42
   3/2/2020   25      $465.76               $3,210.00     $321.00                                  $50.00                               $1,754.42
   4/2/2020   26      $465.76               $3,210.00     $321.00                                  $50.00                               $1,754.42
   5/2/2020   27      $465.76               $3,210.00     $321.00                                  $50.00                               $1,754.42
   6/2/2020   28      $465.76               $3,210.00     $321.00                                  $50.00                               $1,754.42
   7/2/2020   29      $465.76               $3,210.00     $321.00                                  $50.00                               $1,754.42
   8/2/2020   30      $465.76               $3,210.00     $321.00                                  $50.00                               $1,754.42
   9/2/2020   31      $465.76               $3,210.00     $321.00                                  $50.00                               $1,754.42
  10/2/2020   32      $465.76               $3,210.00     $321.00                                  $50.00                               $1,754.42
  11/2/2020   33      $465.76               $3,210.00     $321.00                                  $50.00                               $1,754.42
  12/2/2020   34      $465.76               $3,210.00     $321.00                                  $50.00                               $1,754.42
   1/2/2021   35      $465.76               $3,210.00     $321.00                                  $50.00                               $1,754.42
   2/2/2021   36      $465.76               $3,210.00     $321.00                                  $50.00                               $1,754.42
   3/2/2021   37      $465.76               $3,210.00     $321.00                                  $50.00                               $1,754.42
   4/2/2021   38      $465.76               $3,210.00     $321.00                                  $50.00                               $1,754.42
   5/2/2021   39      $465.76               $3,210.00     $321.00                                  $50.00                               $1,754.42
   6/2/2021   40      $465.76               $3,210.00     $321.00                                  $50.00                               $1,754.42
   7/2/2021   41      $465.76               $3,210.00     $321.00                                  $50.00                               $1,754.42
   8/2/2021   42      $465.76               $3,210.00     $321.00                                  $50.00                               $1,754.42
   9/2/2021   43      $465.76               $3,210.00     $321.00                                  $50.00                               $1,754.42
  10/2/2021   44      $465.76               $3,210.00     $321.00                                  $50.00                               $1,754.42
  11/2/2021   45      $465.76               $3,210.00     $321.00                                  $50.00                               $1,754.42
  12/2/2021   46      $465.76               $3,210.00     $321.00                                  $50.00                               $1,754.42
   1/2/2022   47      $465.76               $3,210.00     $321.00                                  $50.00                               $1,754.42
   2/2/2022   48      $465.76               $3,210.00     $321.00                                  $50.00                               $1,754.42
   3/2/2022   49      $744.17               $3,210.00     $321.00                                  $50.00                               $1,754.42
   4/2/2022   50      $744.17               $3,210.00     $321.00                                  $50.00                               $1,754.42
   5/2/2022   51      $744.17               $3,210.00     $321.00                                  $50.00                               $1,754.42
   6/2/2022   52      $744.17               $3,210.00     $321.00                                  $50.00                               $1,754.42
   7/2/2022   53      $744.17               $3,210.00     $321.00                                  $50.00                               $1,754.42
   8/2/2022   54      $744.17               $3,210.00     $321.00                                  $50.00                               $1,754.42
   9/2/2022   55      $744.17               $3,210.00     $321.00                                  $50.00                               $1,754.42
  10/2/2022   56      $744.17               $3,210.00     $321.00                                  $50.00                               $1,754.42
  11/2/2022   57      $744.17               $3,210.00     $321.00                                  $50.00                               $1,754.42
  12/2/2022   58      $744.17               $3,210.00     $321.00                                  $50.00                               $1,754.42
   1/2/2023   59      $744.17               $3,210.00     $321.00                                  $50.00                               $1,754.42
   2/2/2023   60      $833.79 45    at      $3,210.00     $321.00    43 at               50 at     $50.00 54 at               45 at     $1,754.42

                   $20,440.60             $191,141.90   $19,114.19           $4,500.00           $2,500.00          $600.00           $105,265.20
                   $104,069.82                                                  ATTY
                          20%
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DUE DATE
  2ND              CAPITAL ONE          FOUNDATION FIN          FLAGSHIP CR              ARREARS        PREFERRED CR                             LOB
                    BMW 335 I            WATER FILTER          TOYOTA CAMRY        TOYOTA CAMRY         KIRBY VACCUUM            IRS              BM
              60                                                                                               $1,334.39
   3/2/2018    1             $278.41              $118.00               $167.11                                    $10.00
   4/2/2018    2             $278.41              $118.00               $167.11                                    $10.00
   5/2/2018    3             $278.41              $118.00               $167.11                                    $10.00
   6/2/2018    4             $278.41              $118.00               $167.11                                    $10.00
   7/2/2018    5             $278.41              $118.00               $167.11   5 at                             $10.00
   8/2/2018    6  6 at       $278.41     6 at     $118.00     6 at      $167.11   1 at         $54.56    6 at      $10.00
   9/2/2018    7  1 at         $0.00     1 at       $0.00     1 at        $0.00   1 at          $0.00    1 at       $0.00
  10/2/2018    8             $278.41              $118.00               $222.41                $54.56              $54.70
  11/2/2018    9             $278.41              $118.00               $222.41                $54.56              $54.70
  12/2/2018   10             $278.41              $118.00               $222.41                $54.56    3 at      $54.70
   1/2/2019   11             $278.41              $118.00               $222.41                $54.56               $4.70
   2/2/2019   12             $278.41              $118.00               $222.41                $54.56    2 at       $4.70
   3/2/2019   13             $278.41              $118.00               $222.41   6 at         $54.56    1 at      $88.84
   4/2/2019   14             $278.41              $118.00               $222.41                          1 at    $392.09
   5/2/2019   15             $278.41              $118.00               $222.41                          1 at    $388.28 15 at
   6/2/2019   16             $278.41              $118.00               $222.41                                     $0.00          $361.36
   7/2/2019   17             $278.41              $118.00               $222.41                                     $0.00          $361.36
   8/2/2019   18             $278.41              $118.00               $222.41                                     $0.00          $361.36
   9/2/2019   19             $278.41              $118.00               $222.41                                     $0.00 4 at     $361.36
  10/2/2019   20             $278.41              $118.00               $222.41                                     $0.00 1 at     $361.34
  11/2/2019   21             $278.41              $118.00               $222.41                                     $0.00
  12/2/2019   22 15 at       $278.41              $118.00    15 at      $222.41                          7 at       $0.00
   1/2/2020   23  1 at       $556.82              $118.00     1 at      $355.20                          1 at      $40.09
   2/2/2020   24             $278.41              $118.00               $222.41                          1 at    $191.59
   3/2/2020   25             $278.41              $118.00               $222.41
   4/2/2020   26             $278.41              $118.00               $222.41
   5/2/2020   27             $278.41              $118.00               $222.41
   6/2/2020   28             $278.41              $118.00               $222.41
   7/2/2020   29             $278.41              $118.00               $222.41
   8/2/2020   30             $278.41              $118.00               $222.41
   9/2/2020   31             $278.41              $118.00               $222.41
  10/2/2020   32             $278.41              $118.00               $222.41
  11/2/2020   33             $278.41              $118.00               $222.41
  12/2/2020   34             $278.41              $118.00               $222.41
   1/2/2021   35             $278.41              $118.00               $222.41
   2/2/2021   36             $278.41              $118.00               $222.41
   3/2/2021   37             $278.41              $118.00               $222.41
   4/2/2021   38             $278.41              $118.00               $222.41
   5/2/2021   39             $278.41              $118.00               $222.41
   6/2/2021   40             $278.41              $118.00               $222.41
   7/2/2021   41             $278.41              $118.00               $222.41
   8/2/2021   42             $278.41              $118.00               $222.41
   9/2/2021   43             $278.41              $118.00               $222.41
  10/2/2021   44             $278.41              $118.00               $222.41
  11/2/2021   45             $278.41              $118.00               $222.41
  12/2/2021   46             $278.41              $118.00               $222.41
   1/2/2022   47             $278.41              $118.00               $222.41
   2/2/2022   48 25 at       $278.41              $118.00               $222.41
   3/2/2022   49                                  $118.00               $222.41
   4/2/2022   50                                  $118.00               $222.41
   5/2/2022   51                                  $118.00               $222.41
   6/2/2022   52                                  $118.00               $222.41
   7/2/2022   53                                  $118.00               $222.41
   8/2/2022   54                                  $118.00               $222.41
   9/2/2022   55                                  $118.00               $222.41
  10/2/2022   56                                  $118.00               $222.41
  11/2/2022   57                                  $118.00               $222.41
  12/2/2022   58                                  $118.00               $222.41
   1/2/2023   59                                  $118.00    36 at      $222.41
   2/2/2023   60 12 at                  53 at     $118.00     1 at      $132.79                                                               60 at

                           $13,363.68            $6,962.00           $12,833.56               $381.92          $1,334.39          $1,806.78
                         Pd @ 15.93%            Pd @ 9.9%            Pd @ 6.5%              Pd @ 6.5%
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DUE DATE
  2ND           BEL FIN             HOA
                MW X3
              60
   3/2/2018    1 SURR
   4/2/2018    2
   5/2/2018    3
   6/2/2018    4
   7/2/2018    5 HARLEY      5 at
   8/2/2018    6 DAVIDSON    1 at          $31.50
   9/2/2018    7 2017        1 at           $0.00
  10/2/2018    8 BREAKOUT                  $31.50
  11/2/2018    9 SURR                      $31.50
  12/2/2018   10                           $31.50
   1/2/2019   11                           $31.50
   2/2/2019   12             5 at          $31.50
   3/2/2019   13                          $115.76
   4/2/2019   14             2 at         $115.76
   5/2/2019   15             1 at         $119.57
   6/2/2019   16                          $104.40
   7/2/2019   17                          $104.40
   8/2/2019   18                          $104.40
   9/2/2019   19                          $104.40
  10/2/2019   20             5 at         $104.40
  11/2/2019   21                          $465.76
  12/2/2019   22             2 at         $465.76
   1/2/2020   23             1 at          $14.47
   2/2/2020   24             1 at          $31.50
   3/2/2020   25
   4/2/2020   26
   5/2/2020   27
   6/2/2020   28
   7/2/2020   29
   8/2/2020   30
   9/2/2020   31
  10/2/2020   32
  11/2/2020   33
  12/2/2020   34
   1/2/2021   35
   2/2/2021   36
   3/2/2021   37
   4/2/2021   38
   5/2/2021   39
   6/2/2021   40
   7/2/2021   41
   8/2/2021   42
   9/2/2021   43
  10/2/2021   44
  11/2/2021   45
  12/2/2021   46
   1/2/2022   47
   2/2/2022   48
   3/2/2022   49
   4/2/2022   50
   5/2/2022   51
   6/2/2022   52
   7/2/2022   53
   8/2/2022   54
   9/2/2022   55
  10/2/2022   56
  11/2/2022   57
  12/2/2022   58
   1/2/2023   59
   2/2/2023   60            36 at

                                      $2,039.58
